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  PS 42
(Rev . 9/05)

                                   United States District Court
                                       Southern District Of Georgi a
                                                Waycross Division

               United States of America               )

                         vs.                )

                 Lasherol Burroughs                   ) Case No . CR505-00020-00 6



                 CONSENT TO MODIFY CONDITIONS OF RELEAS E
I,     Lasherol Burroughs        , have discussed with                 Fonda Dixon          , Probation Officer,
modifications of my release conditions as follows :

The defendant shall participate in a program of treatment for drug and alcohol abuse . The costs of treatment
shall be paid by the defendant in an amount to be determined by the probation officer, based on ability to pay or
availability of third-party payment.




I hereby waive a hearing and consent to this modification of my release conditions an d agree to abide by thi s
modification .




     The above modification of conditions of release is ordered.
     The above modification of conditions of release is not ordered.




                                                                                     Date
